         Case 2:24-cv-00057-NJC-AYS Document 5 Filed 01/05/24 Page 1 of 1 PageID #: 37

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District of New York

    FLAGSTAR FINANCIAL & LEASING, LLC f/k/a                          )
           Signature Financial, LLC,                                 )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:24-cv-00057-NJC-AYS
                                                                     )
                      PERRY BRYANT,                                  )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) PERRY BRYANT, 108 Augusta Court, Fairhope, Alabama 36532




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                 J. Logan Rappaport, Esq.
                                           Bronster, LLP
                                           156 West 56th Street, Suite 703
                                           New York, New York 10019



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Brenna B. Mahoney
                                                                               CLERK OF COURT


Date:          1/5/2024
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